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 1 LAW OFFICE OF DAVID GARLAND
   David Garland, Bar # 223679
 2 455 Capitol Mall, Ste. 802
   Sacramento, CA 95814
 3 Telephone: (916) 366-1069
   Fax: (916)476-4023
 4

 5 Attorneys for Defendant
   DONALD EARL FREEMAN JR.
 6

 7
                                   IN THE UNITED STATES DISTRICT COURT
 8
                                      EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                            CASE NO. 2:17-CR-00207-MCE
11                                  Plaintiff,            STIPULATION REGARDING CONTINUING
                                                          JUDGMENT AND SENTENCING; ORDER
12                            v.
                                                          DATE: JUNE 6, 2019
13   DONALD EARL FREEMAN JR.,                             TIME: 10:00 a.m.
                                                          COURT: Hon. Morrison C. England, Jr.
14                                 Defendant.
15

16                                                STIPULATION

17            Plaintiff United States of America, by and through its counsel of record, and defendant, by and

18 through defendant’s counsel of record, hereby stipulate as follows:

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           1. By previous order, this matter was set for judgement and sentencing on June 6, 2019.
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           2. By this stipulation, defendant now moves to continue sentencing until July 25, 2019
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           3. Defense needs additional time to obtain, analyze and present information relevant to the Court’s
22            consideration of the 18 U.S.C § 3553(a) factors before the Court imposes its sentence. The
              United States and the Probation Office do not oppose this request. The United States will oppose
23            further continuances of this matter.
24         4. Therefore, the defendant respectfully requests that this Court continues the judgment and
              sentencing hearing until July 25, 2019 at 10:00 a.m.,
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        5. Because the defendant has pleaded guilty, the Speedy Trial Act provisions do not apply to this
 1         request.
 2         IT IS SO STIPULATED.

 3

 4    Dated: June 6, 2019                                  /s/ DAVID GARLAND
                                                           DAVID GARLAND
 5                                                         Counsel for Defendant
 6                                                         DONALD EARL FREEMAN
                                                           JR.
 7

 8    Dated: June 6, 2019                                  McGREGOR W. SCOTT
                                                           United States Attorney
 9
                                                           /s/ Rosanne Rust
10                                                         Rosanne Rust
                                                           Assistant United States Attorney
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13
                                                   ORDER
14
           IT IS SO ORDERED.
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     Dated: June 5, 2019
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